      Case 2:19-cv-20165-KM-JBC Document 4 Filed 03/26/20 Page 1 of 2 PageID: 18




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

LUIS DEJESUS TAVERAS,

         Plaintiff,
                                                         Dkt. No.: 2:19-cv-20165-KM JBC
vs.
                                                            NOTICE OF VOLUNTARY
SWINGSET & TOY WAREHOUSE, INC.                                   DISMISSAL
AND ABEL SANTOS,

         Defendants.

          Plaintiff, LUIS DEJESUS TAVERAS, by and through the undersigned counsel, hereby

 stipulates and agrees that the above captioned action is voluntarily dismissed pursuant to Federal

 Rule of Civil Procedure 41(a)(l)(A)(i).


 Dated: March 26, 2020                               Respectfully submitted,

                                                     s/ Andrew I. Glenn
                                                     Andrew I. Glenn, Esquire
                                                     E-mail: AGlenn@JaffeGlenn.com
                                                     Jodi J. Jaffe, Esquire
                                                     E-mail: JJaffe@JaffeGlenn.com
                                                     JAFFE GLENN LAW GROUP, P.A.
                                                     301 N. Harrison Street, Suite 9F, #306
                                                     33 State Road, Suite A-1
                                                     Princeton, New Jersey 08540
                                                     Telephone: (201) 687-9977
                                                     Facsimile: (201) 595-0308
                                                     Attorneys for Plaintiff




                                                 1
 Case 2:19-cv-20165-KM-JBC Document 4 Filed 03/26/20 Page 2 of 2 PageID: 19




                                 CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that on March 26, 2020, the foregoing document is being served

this day on all counsel of record identified on the attached Service List in the manner specified,

either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

authorized manner for those counsel or parties who are not authorized to receive electronically

Notices of Filing.



                                                    /s/ Jodi J. Jaffe
                                                    Jodi J. Jaffe, Esquire




                                        SERVICE LIST



No counsel has made an appearance on Defendants’ behalf.




                                                2
